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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                            ROME DIVISION


JOHN MCNEESE,                             )
                                          )
                            Plaintiff,    )
                                          )
vs.                                       )    No.:
                                          )
QSI BUSINESS SOLUTIONS, LLC,              )
                                          )
                          Defendant.      )


                                  COMPLAINT

      Pursuant to Section 216(b) of the Fair Labor Standards Act (FLSA), Plaintiff

files this lawsuit against Defendant and alleges the following:

      1.      The Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. Sections 1331 and 1367.

      2.      Defendant is a Georgia limited liability company with its principal

office located at 1105 East Walnut Ave, Dalton, GA, 30721. Its registered agent

for service of process is Ashley Nicole Stroud, 1105 East Walnut Ave, Dalton, GA,

30721.

      3.      Defendant provides recruiting, employment, and payroll leasing

services to individuals and businesses.
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      4.      In July of 2021, Defendant employed Plaintiff to work in a temporary

job as a lift truck operator at Lyle Industries in Rocky Face, Georgia. Defendant

agreed to compensate Plaintiff on an hourly basis for the work he performed at

Lyle Industries.      Lyle Industries manufactures and supplies automotive

components that are distributed across state lines.

      5.      Plaintiff began work at Lyle Industries on July 26, 2021, and he

worked well over 40 hours during his first workweek. Plaintiff worked one day of

the following workweek, before his job was filled by a permanent employee and he

was discharged.

      6.      When Defendant compensated Plaintiff for the work he performed,

Defendant only paid Plaintiff his hourly rate of pay for 40 hours of work during his

first workweek of employment. Defendant did not pay Plaintiff any wages for the

overtime hours he worked during his first workweek of employment.

      7.      Defendant did not compensate Plaintiff at all for the hours he worked

during his second workweek of employment.

      8.      After receiving his compensation from Defendant, Plaintiff advised

Defendant that he was owed additional compensation, and requested that

Defendant pay him the additional wages to which he was entitled. Defendant

refused to pay Plaintiff any additional wages.



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   Count 1—Violation of Fair Labor Standards Act—Overtime Violations

      9.      Pursuant to Fed. R. Civ. P. 10(c), Plaintiff adopts by reference the

allegations set forth in paragraphs 1-8 above.

      10.     Defendant was an "employer" of Plaintiff as defined by Section

203(d) of the FLSA.

      11.     Plaintiff was an "employee" of Defendant as defined by Section

203(e)(1) of the FLSA.

      12.     While Plaintiff was employed by Defendant, he was engaged in

commerce or in the production of goods for commerce as defined by Sections

207(a)(1) and 203(b)of the FLSA. More specifically, Plaintiff handled materials

that moved across state lines in interstate commerce.

      13.     Defendant is an enterprise engaged in commerce or in the production

of goods for commerce as defined by Section 203(s)(1) of the FLSA. Defendant

has annual gross volume of sales which exceed $500,000.00.

      14.     The minimum wage and overtime provisions of the FLSA set forth in

Sections 206 and 207, respectively, apply to Defendant.

      15.     Pursuant to Section 207(a)(1) of the FLSA, Defendant was required to

pay Plaintiff overtime pay at a rate of one and one-half times his regular rate of pay

for all hours worked over 40 during a workweek.



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      16.    Defendant’s failure to pay Plaintiff overtime wages of one and one-

half times his regular rate of pay for all overtime hours worked is a violation of

Section 207(a)(1) of the FLSA.

      17.    Pursuant to Section 216(b) of the FLSA, Defendant is liable to

Plaintiff for overtime back pay.

      18.    In addition to the amount of unpaid overtime wages owing to Plaintiff,

Plaintiff is also entitled to recover an equal amount of liquidated damages pursuant

to 29 U.S.C. § 216(b).

      19.    Plaintiffs is entitled to an award of attorney’s fees and costs pursuant

to 29 U.S.C. § 216(b).

Count 2—Violation of Fair Labor Standards Act—Minimum Wage Violations

      20.    Pursuant to Fed. R. Civ. P. 10(c), Plaintiff adopts by reference the

allegations set forth in paragraphs 1-19 above.

      21.    Pursuant to Section 206(a)(1)(C) of the FLSA, Defendant was

required to pay Plaintiff a minimum wage of at least $7.25 an hour during each

workweek of his employment.

      22.    Defendant’s failure to pay Plaintiff any compensation for the work he

performed during his second workweek of employment is a violation of Section

206(a)(1)(C) of the FLSA.



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       23.   Pursuant to Section 216(b) of the FLSA, Defendant is liable to

Plaintiff for back pay in the amount of the minimum wages he is owed.

       24.   In addition to the amount of unpaid minimum wages owing to

Plaintiff, he is also entitled to recover an equal amount of liquidated damages

pursuant to 29 U.S.C. § 216(b).

       25.   Plaintiff is entitled to an award of attorney’s fees and costs pursuant to

29 U.S.C. § 216(b).

             Count 3—Breach of Contract Under Georgia State Law

       26.   Pursuant to Fed. R. Civ. P. 10(c), Plaintiff adopts by reference the

allegations set forth in paragraphs 1-25 above.

       27.   Defendant’s agreement to pay Plaintiff an hourly rate for his work

while he was employed by Defendant was an enforceable contract under Georgia

law.

       28.   By failing to pay Plaintiff any compensation for the work he

performed during his second workweek of employment, Defendant breached its

contract with Plaintiff.

       29.   As a result of Defendant’s breach of contract, Plaintiff sustained and

is entitled to recover damages amounting to the compensation he failed to receive

for his work during his last second week of employment—beyond the minimum



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wages he is owed for that work pursuant to the FLSA—at his agreed-upon rate of

pay.

                                Prayer for Relief

       WHEREFORE, Plaintiff prays for a judgment against Defendant for

damages that include the following:

       (a) overtime back pay;

       (b) minimum wage back pay;

       (c) liquidated damages in an amount equal to his overtime back pay;

       (d) liquidated damages in an amount equal to his minimum wage back pay

       (e) unpaid wages as damages resulting from Defendant’s breach of contract;

       (f) interest;

       (g) reasonable attorney’s fees and costs; and

       (h) all other general legal and equitable relief to which he may be entitled.



                                        Respectfully submitted,

                                        /s/ R. Scott Jackson, Jr.
                                        R. Scott Jackson, Jr. (GA 387630)
                                        4525 Harding Road, Suite 200
                                        Nashville, TN 37205
                                        (615) 313-8188
                                        (615) 313-8702 (facsimile)
                                        rsjackson@rsjacksonlaw.com



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                           Stephen B. Farrow (GA 256025)
                           Warren & Griffin, P.C.
                           300 West Emery Street, Suite 108
                            Dalton, GA 30720
                           (706) 529-4878
                           (706) 529-3890 (facsimile)
                           stephen.farrow@warrenandgriffin.com

                           Attorneys for Plaintiff




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